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                  United States Court of Appeals
                                FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                         ____________
No. 22-8521                                                    September Term, 2022
                                                                                  20-BG-583
                                                          Filed On: January 24, 2023
In re: Larry Elliott Klayman,

              Respondent


       BEFORE:       Henderson, Katsas, and Rao, Circuit Judges

                                            ORDER

       Upon consideration of this court’s order to show cause filed October 24, 2022,
the response thereto, and the notice filed January 5, 2023, it is

       ORDERED that the order to show cause be discharged. It is

       FURTHER ORDERED that this case be scheduled for oral argument before a
merits panel.

       The Clerk is directed to enter a briefing schedule and to calendar this case for
oral argument.

                                           Per Curiam
